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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

THOMAS H. FUTCH,                        )
                                        )
      Plaintiff,                        )
                                        )       CIVIL ACTION
v.                                      )
                                        )       FILE No. _____________________
AKSHAR REAL ESTATE, INC.,               )
                                        )
      Defendant.                        )

                                    COMPLAINT

      COMES NOW, THOMAS H. FUTCH, by and through the undersigned

counsel, and files this, his Complaint against Defendant AKSHAR REAL

ESTATE, INC. pursuant to the Americans with Disabilities Act, 42 U.S.C. §

12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as follows:

                           JURISDICTION AND VENUE

      1.       This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.       Venue is proper in the federal District Court for the Northern District


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of Georgia, Atlanta Division.

                                      PARTIES

      3.       Plaintiff THOMAS H. FUTCH (hereinafter “Plaintiff”) is, and has

been at all times relevant to the instant matter, a natural person residing in Powder

Springs, Georgia (Cobb County).

      4.       Plaintiff is a paraplegic and is disabled as defined by the ADA.

      5.       Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

      6.       Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.       Defendant     AKSHAR          REAL   ESTATE,       INC.    (hereinafter

“Defendant”) is a Georgia corporation, and transacts business in the state of

Georgia and within this judicial district.

      8.       Defendant may be properly served with process via its registered

agent for service, to wit: Chiragkumar A. Patel, 4081 Anneewakee Road,

Douglasville, Georgia, 30135.

                            FACTUAL ALLEGATIONS

      9.       On or about January 26, 2021, Plaintiff was a customer at “Tropical

Market,” a business located at 6965 S. Sweetwater Road, Lithia Springs, Georgia


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30122.

      10.    Defendant is the owner (or co-owner) of the real property and

improvements that are the subject of this action. (The contiguous structures and

improvements situated upon said real property shall be referenced herein as the

“Facility,” and said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately four (4) miles from the Facility and

Property.

      12.    Plaintiff regularly travels in the very near vicinity of the Facility and

Property.

      13.    Plaintiff’s access to the business(es) located at 6971 S. Sweetwater

Road, Lithia Springs, Georgia 30122 (Douglas County Property Appraiser’s parcel

number 04711820007, and of which 6965 S. Sweetwater Road, Lithia Springs,

Georgia 30122 is a part), and/or full and equal enjoyment of the goods, services,

foods, drinks, facilities, privileges, advantages and/or accommodations offered

therein were denied and/or limited because of his disabilities, and he will be denied

and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      14.    Plaintiff has visited the Facility and Property at least once before and


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intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      15.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      16.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      17.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      18.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      19.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      20.    The Facility is a public accommodation and service establishment.

      21.    The Property is a public accommodation and service establishment.

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      22.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      23.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      24.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      25.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      26.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      27.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his


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access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      29.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      30.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all


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physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      31.      A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      a.       The Property lacks an accessible route from the public sidewalk

               to the accessible entrance(s) of the Facility, in violation of

               section 206.2.1 of the 2010 ADAAG standards.

      b.       The total number of accessible parking spaces on the Property

               is inadequate, in violation of section 208.2 of the 2010 ADAAG

               standards.

      c.       The accessible parking space on the Property and its associated

               adjacent access aisle are not adequately marked, in violation of

               section 502.1 and 502.3.3 of the 2010 ADAAG standards.

      d.       The access aisle adjacent to the accessible parking space on the

               Property is not level due to the presence of a ramp within the


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         boundaries of said access aisle, in violation of section 502.4 of

         the 2010 ADAAG standards. Further, the failure to adequately

         mark this access aisle encourages parking within it, and thus

         obstructs this ramp.

e.       There is broken pavement and excessive vertical rises at the

         base of the above-described accessible ramp on the Property, as

         well as a significant crack running diagonally through the

         ramp’s running surface, in violation of sections 405.4 and 405.7

         of the 2010 ADAAG standards.

f.       The above-described ramp on the Property also has a slope

         exceeding 1:12 (one to twelve), in violation of section 405.2 of

         the 2010 ADAAG standards, and its side flares have slopes in

         excess of 1:10 (one to ten), in violation of section 406.3 of the

         2010 ADAAG standards.

g.       The interior of the “Tropical Market” portion of the Facility has

         a sales and services counter lacking any portion of which that

         has a maximum height of 36” (thirty-six inches) from the

         finished floor, in violation of section 904.4 of the 2010

         ADAAG standards.


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      32.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to find and utilize a disabled accessible parking

space on the Property, more difficult for Plaintiff to enter and exit his vehicle while

on the Property, more difficult and dangerous for Plaintiff to traverse the ramp

servicing the Property, and more difficult for Plaintiff to conduct his business

while inside the Facility.

      33.    The Property has not been adequately maintained in operable working

condition for those features of facilities and equipment that are required to be

readily accessible to and usable by persons with disabilities in violation of section

28 C.F.R. § 36.211.

      34.    Upon information and good faith belief, Defendant fails to adhere to a

policy, practice and procedure to ensure that all facilities on the Property are

readily accessible to and usable by disabled individuals.

      35.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      36.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.


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      37.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      38.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      39.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      40.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      41.   In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      42.   Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous


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conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      43.    Plaintiff’s requested relief serves the public interest.

      44.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      45.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      46.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the

             physical barriers to access and (ii) alter the subject Facility and

             Property to make them readily accessible to, and useable by,

             individuals with disabilities to the extent required by the ADA;

      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,


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             litigation expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: January 27, 2021.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich




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